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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA,                   §
                Plaintiff,                   §
                                             §    3:19-CR-452-X
 v.                                          §
                                             §
 BRIAN CARPENTER (1)                         §
 JERRY HAWRYLAK (2)                          §
                                             §
                        Defendants.          §


             ORDER GRANTING DEFENDANT’S UNOPPOSED JOINT
                      MOTION TO CONTINUE TRIAL

      Before the Court is the Defendant’s Unopposed Joint Motion to Continue Trial (the

“Motion”) (Doc. No. 67), filed on April 2, 2021. The Court finds that the ends of justice served

by granting the continuance outweigh the best interests of the public and the defendants in

a speedy trial, and that failure to grant such a continuance might result in a miscarriage of

justice. See 18 U.S.C. § 3161(h)(7)(A), (B)(i).

      The Court finds that counsel needs additional time to review discovery and effectively

prepare for trial in this case. The existing trial date in this case of June 7, 2021 would deny

counsel for the defendants the reasonable time necessary for effective preparation of the

defense. 18 U.S.C. § 3161(h)(7)(B). The likely result would be an inability to continue the

proceeding and a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i). Therefore, the Court

GRANTS the Motion.

      Accordingly, it is ORDERED that the trial of the case is reset from June 7, 2021 to

Monday, May 9, 2022 at 9:00 a.m. The period of delay shall be excluded in computing the

time within which the trial must commence. Further, the Court finds that in the interest of
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justice, this case shall be tried together with all co-defendants, pursuant to 18 U.S.C. §

3161(h)(6).

      Pretrial motions must be filed no later than February 18, 2022 and all responses,

including responses to any previously pending motions, no later than February 25, 2022.

      Requested voir dire questions, proposed jury instructions, witness lists (with

witnesses designated as “custodial,” “expert,” or “fact,” as well as “probable” or “possible”),

exhibit lists (with copies of exhibits furnished to the Court), and motions in limine must be

filed no later than April 22, 2022.

      Pretrial Conference is hereby scheduled for April 25, 2022 at 10:00 a.m. The

defendant need not be present for the Pretrial Conference.

      Signed this 23rd day of April, 2021.




                                                      BRANTLEY STARR
                                                      UNITED STATES DISTRICT JUDGE
